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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION



CUTTING EDGE VISION, LLC

        Plaintiff,

v.                                       Case No. 6:22-CV-00285-ADA

TCL TECHNOLOGY GROUP                     JURY TRIAL DEMANDED
CORPORATION, TCL ELECTRONICS
HOLDINGS LIMITED, TCL
COMMUNICATION TECHNOLOGY
HOLDINGS LIMITED, and
TCL COMMUNICATION LIMITED

        Defendants.




PLAINTIFF’S RESPONSE TO DEFENDANTS’ OPENING CLAIM CONSTRUCTION
                             BRIEF
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                         PLAINTIFF’S LIST OF EXHIBITS

1. Exhibit A - Expert Declaration of David W. Hughes Dated December 12, 2022,
   including CV and list of Publications (“Hughes Decl.”).
2. Exhibit B - Declaration of Justin J. Lesko Dated December 12, 2022.
3. Exhibit C - U.S. Patent No. 10,063,761 (“’761 Patent”), Plaintiff’s Exhibit 4.
4. Exhibit D - U.S. Patent No. 11,153,472 (“’472 Patent”), Plaintiff’s Exhibit 4A.
5. Exhibit E - Portions of the File History of U.S. Patent No. 10,063,761 (“’761 F.H.”).
6. Exhibit F - Portions of the File History of U.S. Patent No. 11,153,472 (“’472 F.H.”).
7. Exhibit G - Portions of the File History of U.S. Patent No. 9,936,116 (“’116 F.H.”).
8. Exhibit H - Rough Draft of the Deposition Testimony of Dr. Ryan Garlick, Ph.D., taken
   on December 2, 2022 (“Gar. Dep.”).
9. Exhibit I - Steven M. Kaplan, Wiley Electrical And Electronics Engineering Dictionary,
   John Wiley & Sons, Hoboken, New Jersey, 2004; bearing Bates numbers CEV-0035871
   through CEV-0035880.
10. Exhibit J - Rudolf F. Graf, Modern Dictionary Of Electronics, Seventh Edition,
    Butterworth-Heinemann, Woburn, Massachusetts, 1999; bearing Bates numbers CEV-
    0035602 through CEV-0035608.
11. Exhibit K - Michael Agnes, Webster's New World College Dictionary, Fourth Edition,
    Wiley Publishing, Cleveland, Ohio, 2004; bearing Bates numbers CEV-0035859 through
    CEV-0035870.
12. Exhibit L - Bryan Pfaffenberger, Webster's New World Computer Dictionary, Ninth
    Edition, Hungry Minds, New York, New York, 2001.Bryan Pfaffenberger, Webster's
    New World Computer Dictionary, Ninth Edition, Hungry Minds, New York, New York,
    2001.
13. Exhibit M - Jane Radatz, The IEEE Standard Dictionary Of Electrical And Electronics
    Terms, Sixth Edition, 1996; bearing Bates numbers CEV0035609 through CEV0035614.
14. Exhibit N - U.S. Patent No. 6,021,278, Plaintiff’s Exhibit 12.
15. Exhibit O - Computer Processor History, Computer Hope (2022), Plaintiff’s Exhibit 10.
16. Exhibit P - RSC-164/ RSC-164i Data Book, Sensory Inc. (1996) Plaintiff’s Exhibit 11.




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I.        INTRODUCTION

          The constructions proposed by the Defendants (“TCL”) are incorrect. None of the disputed

claim terms are means-plus function elements, and none are indefinite. Seven of the terms should

be given their plain and ordinary meaning, with no construction necessary. One term, “the device,”

refers to the “camera system” according to the ’761 Patent claim 1 in view of the intrinsic record.

II.       OVERVIEW OF THE PATENTS IN SUIT

          The ’761 and ’472 Patents are two of a 14-patent portfolio owned by Cutting Edge Vision,

LLC (“CEV”). The CEV Patents all share the same specification, 1 originally filed October 17,

2005, which is also the relevant date for a person skilled in the art (“POSITA”).

          The CEV Patents describe and claim new and convenient ways for a user to control camera

settings, camera menus, and the automatic upload of stored pictures. Dkt. #1 at pp. 6-7. The CEV

Patents are licensed to eleven major camera/smartphone manufacturers. Dkt. #1 at p. 8.

          The asserted system claims relate to automatically uploading stored pictures over a cellular

network to a picture hosting site during periods when certain conditions are met. The claims

provide an option that the user can select to confine automatic uploads to periods without potential

(’761 Patent claim 1) or potentially increased (’472 patent claims 1 and 5) cellular network access

fees, and the system monitors data from its cellular interface to determine if it is in one of those

periods. Thus, the system can be instructed to avoid familiar potential fees (such as data roaming)

that may be associated with uploading pictures.

          The specification recognizes that uploads over a cellular network (e.g., from camera-

enabled cell phones) can potentially incur upload fees. 2 While additional revenue from uploads


1
 During prosecution of the ’472 Patent, Figure 3 was amended to conform to the specification,
without adding new matter. ’472 Patent Fig. 3 element 46b, ’472 F.H. at CEV-0015417.
2
    14:32-41. CEV will cite to the ’472 Patent unless an issue is unique to the ’761 Patent.
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benefits service providers, it is a downside for users. Thus, the specification states at 13:3-7

(emphasis added.): “the inventive camera system is preferably operable so that the automatic

connection is made only at certain times of the day or weekends, etc., so as to confine picture

transmission to periods of low network usage or periods of cheaper network access, etc.”

III.     LEGAL STANDARD

         CEV recognizes the Court is familiar with claim construction law and forgoes a lengthy

recitation of legal authorities. CEV highlights below legal standards ignored by Defendants in their

Opening Brief (“Def. Brief”) and accompanying Declaration of Dr. Garlick (“Gar. Decl.”).

         Indefiniteness: A claim, viewed in light of the intrinsic evidence including the prosecution

history, must inform the POSITA as to the scope of the invention “with reasonable certainty.”

Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910-11 (2014). “Indefiniteness must be

proven by clear and convincing evidence.” Sonix Tech. Co. v. Publ’ns Int’l, Ltd., 844 F.3d 1370,

1377 (Fed. Cir. 2017).

         Means-Plus-Function: Unless “means'” is used regarding a term at issue, a rebuttable

presumption arises that the term is not means-plus-function. Williamson v. Citrix Online, LLC, 792

F.3d 1339, 1348 (Fed. Cir. 2015). Defendants ignore several cases (including from this Court)

holding that a “controller” is a known class of structures to a POSITA and not a “nonce” word

over periods from 1999 through to 2017. See Barkan Wireless IP Holdings, L.P. v. Samsung Elecs.

Co., No. 2:18-CV-28, 2019 U.S. Dist. LEXIS 20394, at *60-62 (E.D. Tex. Feb. 7, 2019); True

Chem. Sols., LLC v. Performance Chem., Co., No. 18-CV-78-ADA at 11-13 (W.D. Tex. Sep. 25,

2019); Flypsi, Inc. v. Dialpad, Inc., No. 6:21-CV-642-ADA, 2022 U.S. Dist. LEXIS 149866, at

*18 (W.D. Tex. 2022).




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         Judicial Correction: “A district court may correct ‘obvious minor typographical and

clerical errors in patents.’” Pavo Solutions LLC v. Kingston Tech. Co., 35 F.4th 1367, 1373 (Fed.

Cir. 2022). “Correction is appropriate ‘only if (1) the correction is not subject to reasonable debate

based on consideration of the claim language and the specification and (2) the prosecution history

does not suggest a different interpretation of the claims.’” Id. The error must be “evident from the

face of the patent,” Grp. One, Ltd. v. Hallmark Cards, Inc., 407 F.3d 1297, 1303 (Fed. Cir. 2005),

and the determination “must be made from the point of view of one skilled in the art,” Ultimax

Cement Mfg. Corp. v. CTS Cement Mfg. Corp., 587 F.3d 1339, 1353 (Fed. Cir. 2009). “The court

‘must consider how a potential correction would impact the scope of a claim and if the inventor is

entitled to the resulting claim scope based on the written description of the patent.’” CBT Flint

Partners, LLC v. Return Path, Inc., 654 F.3d 1353, 1359 (Fed. Cir. 2011).

IV.      DISPUTED CONSTRUCTIONS

      A. “controller” (’761 Patent, Claim 1; ’472 Patent, Claims 1, 5)

         1. Section 112 ¶6 Does Not Apply

         The term “controller” in the asserted claims is presumed to not be means-plus-function

because the word “means” is not used with it (or anywhere in the asserted claims). Williamson,

792 F.3d at 1348. That presumption is further backed by many cases analyzing “controller” in

parallel situations, each time declining to apply §112 ¶6, and concluding instead that a “controller”

is a well known class of structures to a POSITA. See, Section III, above; Hughes Decl. at ¶¶ 46-

48. Dr. Hughes also identifies relevant definitions for “controller” (including those relied upon by

the courts) supporting the same conclusion for a POSITA. Id. at ¶45, 48.

         TCL not only ignores the existing case law, it also mischaracterizes Rain Computing, Inc.

v. Samsung Electronics America, Inc., 989 F.3d 1002, 1006 (Fed. Cir. 2021) by asserting in its


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parenthetical characterization that Rain held “there is no substantive difference between ‘controller

configured to’ perform certain functions and ‘controller for performing certain functions.’” See,

Def. Brief at 5. In fact, the term “controller” was not at issue in Rain, and instead, the court held

that the word in that claim “‘Module’ is a well-known nonce word that can operate as a substitute

for ‘means.’” Rain, 989 F.3d at 1006 (emphasis added).

       In support of its argument that the operations performed by the controller are “functions,”

TCL relies on ¶40 of the Gar. Declaration. However, in ¶40, Dr. Garlick cropped from his

“quotation” of the claim the very hardware items that, by their plain language, confirm that the

“controller” is structure. Specifically, for claims 1 and 5 of the ’472 Patent Dr. Garlick and TCL

ignore both that the controller is “coupled to the cellular interface, the non-volatile local memory

and the touch sensitive display” and that those structures are recited as interacting with the

controller in the allegedly “functional” claim operations. Likewise, the ’761 Patent recites in the

operations (alleged by TCL to be purely functional) that the “controller” is configured to

communicate with the touch sensitive display, memory, and cellular interface. See Hughes Decl.

at ¶37. Dr. Hughes confirms that a POSITA would understand just from the plain language of the

claims that a controller coupled to and communicating with those other well-known hardware

components is itself a hardware component. Id.

       The patent specification also describes the controller as a hardware component coupled to

other hardware. The ’472 Patent states at 12:39-41 that “the inventive camera system's camera

controller … is preferably a microprocessor.” This statement confirms that “controller” is

structural: both CEV’s and TCL’s experts agree that microprocessors were known by the POSITA

to be specific hardware devices. See Hughes Decl. at ¶¶38-39. Further, while TCL unfairly

characterizes the controller in Figure 3 as being nothing more than a “black box,” Figure 3 actually


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shows in a block diagram interconnected components that are individually well-known to be

structural hardware devices, with the controller being a key hardware component at its center. See,

’472 Patent, Figure 3. 3

       CEV also expressly stated during prosecution that it did not intend for any claim elements

to be interpreted as means-plus-function. With its initial claims submission (of the exact claims

that issued) in the ’472 Patent, CEV said (’472 F.H. at CEV-0015418):

       “In addition, Applicant has taken care to prepare the claims in a manner that does
       not fall within 35 U.S.C. Section 112, Para. 6. Specifically, Applicant has
       undertaken to draft the claims in a manner that recites structure, material, or acts in
       support of the various operations. Applicant requests that the Examiner inform
       Applicant if he believes that any claim falls within 35 U.S.C. Section 112, Para. 6,
       so that appropriate amendments can be made.”

CEV submitted the same statement with its initial claims submission in the ’761 Patent. 4

       CEV thus gave notice in the intrinsic record to both the public and the examiner that its

claims should not be interpreted as means-plus-function. The examiner did not label “controller”

(or any element) means-plus-function, even when he issued a (later withdrawn) written description

rejection in the ’472 Patent. ’472 F.H. at CEV-0010981-991. If the examiner believed the claims

were means-plus-function, he would have said so in that Section 112 rejection.

       In sum, the case law, the claims, the specification, and the intrinsic and extrinsic evidence

all point to only one conclusion: the term “controller” is not a means-plus-function element.

       2. The Specification Discloses Structure to Perform the Claimed Functions

       CEV submits that, because the term “controller” refers to well-known structure and is not

a “nonce” word, this Court need not address means-plus function analysis. However, should this


3
 The specification further guides the POSITA by incorporating by reference a specific line of
microprocessors. See, Hughes Decl. at ¶¶40-44.
4
  ’761 F.H at CEV-0030933. Hughes Decl. at ¶¶35. The pending claims recited a “controller
configured.” The examiner did not identify any means-plus-function language.
                                                 5
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Court disagree, the disclosure specifies the structure which performs the functions and sufficiently

ties the structure to that function. Hughes Decl. at ¶49.

       As explained above, the specification describes a microprocessor, a known structural

element, as one example of a “controller” (’472 Patent at 12:39-41). The operations in element (f)

of the claims further specify that the touch sensitive display, the non-volatile memory, the cellular

interface, and the camera system all work together with the “controller” to carry out the purported

“functions” that TCL challenges. Hughes Decl. at ¶49.b. TCL and its expert Dr. Garlick carefully

avoid discussing those hardware devices, which demonstrate that the claims are not pure software

claims for which a special algorithm may be required.

       Thus, the disclosure specifies the structure (including at least a microprocessor, the touch

sensitive display, the non-volatile memory, the cellular interface, and the camera system) that

performs the purported “functions” and sufficiently ties the structure to those functions.

    B. “instructs” (’761 Patent, Claim 1; ’472 Patent, Claims 1, 5)

       TCL asserts the term “instructs” is indefinite, stating “[t]he word ‘instructs’ appears only

in the claims, not in the specification.” Def. Brief at 8. TCL also argues that the specification is

“devoid of (1) any disclosure whatsoever to indicate what the instructions might be, and (2) any

description of any structure that ‘instructs.’” Id. TCL is again wrong.

       In fact, the specification does use “instructed” and “instruct,” in each case consistent with

the plain meaning of “instructs” in the claim. See, Hughes Decl. at ¶¶59-62. And, it is established

that in haec verba disclosure of the exact word “instructs,” is not required. 5




5
 CEV also confirmed the ordinary use of the term “instructs” during prosecution (in overcoming
a written description rejection), when it established that this element is fully supported by the
disclosure. ’472 F.H. at CEV-0010972-974.
                                                  6
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       TCL’s main argument misreads “option that instructs,” by arguing (Def. Brief at 8) “A

POSITA would be left to wonder how something that is passively being chosen [an option] can

actively instruct others to perform.” However, in an attempt to support its argument that “an option

is … passive, generally meaning something being chosen,” TCL relies on an inapplicable

dictionary definition of “option” that is inconsistent with the context of the claim language. 6 Def.

Brief at 8. Both experts explained that an option is not passive, but instead is something that is

selected by pressing the appropriate place on a touch-sensitive display to allow the user to interact

with a system to perform a function. Hughes Decl. at ¶¶56-59, 62-64. Thus, the basic premise for

TCL’s argument, that options are “passive,” is simply wrong, and “option that instructs” is definite.

    C. “the device” (’761 Patent, Claim 1)

       CEV agrees that the claim term “the device” technically lacks antecedent basis. However,

“the lack of an antecedent basis does not render a claim indefinite as long as the claim apprises

one of ordinary skill in the art of its scope, and therefore, serves the notice function required by §

112 ¶ 2.” In re Downing, 754 F. App’x 988, 996 (Fed. Cir. 2018). Whether a claim, “despite lack

of explicit antecedent basis … nonetheless has a reasonably ascertainable meaning must be decided

in context.” Energizer Holdings, Inc. v. Int’l Trade Comm’n, 435 F.3d 1366, 1370 (Fed. Cir. 2006).

Context, for purposes of indefiniteness, includes the intrinsic evidence. Nautilus, 572 U.S. at 910.

       Here, the claim language and intrinsic evidence lead the POSITA to only one possible

conclusion: the phrase “the device” refers to the “camera system.” Hughes Decl. at ¶¶69, 73, 75.

       Addressing the claim language first,’761 Patent claim 1 recites "the device" and not “a

device,” so that element is intended to refer to a “device” recited elsewhere in the claim. Also, the

recited operation for “the device” is “to confine automatic picture upload to periods without


6
 TCL failed to mention that ’472 Patent claim 5 does not say “option” and refers instead to “a
user-selectable input that instructs,” so TCL’s “option” argument does not apply to that claim.
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potential cellular network access fees,” and the user selection of an upload option “instructs the

device” to carry out that operation.

       That particular claim language “to confine automatic picture upload…” can be linked to

the ’761 Patent at 12:64-13:1 7 which states (emphasis added): “the inventive camera system is

preferably operable so that the automatic connection is made only at certain times of the day or

weekends, etc., so as to confine picture transmission to periods of low network usage or periods

of cheaper network access, etc.” The disclosure here describes the “camera system” as the device

tied to the claimed operation “to confine automatic picture upload.” Hughes Decl. at ¶¶70-73. And

TCL does not deny that the “camera system” is a device (see, Def. Brief at 9.).

       Next, the specification’s consistent use of the verbs “instruct” and “instructed” confirms

again that “the device” (used with the word “instructs”) in the ’761 claim 1 is “the camera system.”

The specification repeatedly uses “instruct” and “instructed” only in connection with the nouns

“the camera system” or “the camera.” It does not describe any other device in connection with

“instruct,” “instructed” or “instructs.”

       Specifically, the ’761 Patent describes: "the inventive camera system can be instructed to

automatically send the pictures" (13:17-22); “the inventive camera system is operable for being

instructed to automatically initiate a connection to the internet, … etc. whenever the predetermined

conditions are met” (12:57-62); “instruct the camera to take the picture” (5:26-32); and “instruct

the camera that this is also a picture taking command” (5:58-64). A POSITA reading the claim

language “instructs the device” and the patent’s description of instructing only the camera system

would conclude that “the device” in the claim is the camera system. Hughes Decl. at ¶¶74-75.



7
  CEV cited 12:64-13:1 as “[0038]” before allowance of the related ’116 Patent (examined by the
same examiner in parallel with the ’761 Patent) as support for the exact claim limitation, also
lacking formal antecedent basis but allowed by the examiner. ‘116 F.H. at CEV-0031287-291.
                                                 8
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       The prosecution history also supports that “the device” is the camera system. Specifically,

CEV referred to “the claimed system” as “the device” in response to an enablement rejection (that

was subsequently withdrawn):

       “[A POSITA] would immediately see the disclosure of menu options in Applicant's
       specification and the various functions of the device claimed, and recognize how to
       include those claimed functions as part of menus in the device.”

’761 F.H. at CEV-0030680 (emphasis added). The pending claims said “A camera system

comprising….” Thus, during prosecution, CEV described the claimed “camera system” as “the

device claimed.” Hughes Decl. at ¶¶76-78; Nautilus, Inc. v. Biosig Instruments, Inc., 783 F.3d

1374, 1382 (Fed. Cir. 2015) (patent not indefinite based on inventor statements in prosecution).

       Also, related ’472 Patent claims 1 and 5 use parallel language with the phrase “the camera

system” instead of “the device,” confirming the proper construction of “the device” is “the camera

system”: ’472 Patent claim 1 recites “a user selection of an upload option that instructs the camera

system to confine automatic picture upload…” and claim 5 recites “a user-selectable input that

instructs the camera system to confine automatic picture upload….” Hughes Decl. ¶¶79-82.

       While TCL lists “devices” that exist in the intrinsic record (See, Def. Brief at 9), it fails to

identify any evidence to support a conclusion that a device on its list (other than “the camera

system”) actually is “the device” recited in ’761 Patent claim 1.

       Finally, TCL (Def. Brief at 10) argues:

       “If ‘the device’ were the ‘camera system’ as CEV alleged, claim 1 of the ’761 patent
       would require the ‘device’/’camera system’ to include a ‘cellular interface.’ ... But,
       there is no cellular interface (or any networking interface) in the functional block
       diagram of the claimed camera system in Figure 3 of the ‘761 patent or anywhere
       else in the specification. Garlick Decl., ¶48.”

However, CEV is not required to show in Figure 3 the “cellular interface” because it is sufficiently

described elsewhere in the specification. In that circumstance, “[t]he written description does not


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require that every claimed element be illustrated in the figures, particularly in predictable arts and

where the element not depicted is conventional and not ‘necessary for the understanding of the

subject matter sought to be patented.’” 8

       The ’761 Patent repeatedly discloses that the “inventive camera system” uses cellular

networks or is part of a cell phone and therefore includes a cellular interface (see, e.g., 12:28-31,

13:10-16, 14:26-31). In view of these disclosures (which TCL ignores), the “camera system” can

include a “cellular interface” and therefore can be “the device.”

       In short, A POSITA in view of the intrinsic record, would understand that “the device,” in

’761 Patent claim 1 is “the camera system.”

       In the alternative, CEV requests that the Court correct the clerical error of the ’761 Patent

claim 1 by replacing “the device” with “the camera system.” As explained, the phrase “the device”

meant “the camera system” in view of the claim language, the specification, and file history.

Indeed, the issuance of the ’472 Patent with the same language (“instructs the camera system”)

points unequivocally to the conclusion that the inventor is fully entitled to the resulting claim

scope. Thus, the legal conditions are met for this Court to correct the patent.

    D. “periods without potential cellular network access fees” (’761 Patent, Claim 1)

       TCL has not met its burden to prove that “periods without potential cellular network access

fees” is indefinite. The claim is definite, and the intrinsic record confirms it.

       Claim 1 provides as one element an option to “confine automatic picture upload to periods

without potential cellular network access fees.” It is important to consider that claim 1 is a system

claim that is infringed by the sale of a configured device – before the device is ever turned on.


8
  See Hologic, Inc v Smith & Nephew, Inc., 884 F.3d 1357, 1362-63 (Fed. Cir. 2018) (citations
omitted). Indeed, in the later ’472 Patent, the examiner allowed Figure 3 to be amended to show
the cellular interface without issuing a new matter rejection. ’472 Patent Fig. 3 element 46b, ’472
F.H. at CEV-0015417.
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CEV has not asserted that a user infringes the claims. A device manufacturer cannot know whether

every user will be charged cellular network access fees for an upload. Thus, the claimed system

conditions the upload based upon potential cellular network access fees that may (or may not) be

incurred from automatic uploads.

       The claim describes the controller is configured to “automatically connect to a remote

picture hosting service and cause an upload of one or more pictures stored in the non-volatile

memory to the remote picture hosting service via the cellular interface, after receiving: (1) data

from the cellular interface used by the controller to determine that the upload is allowed based on

the selected upload option.” Thus, the controller is configured to determine, before an automatic

upload takes place, that the upload is allowed based on the selected “upload option” (i.e, because

the device is in an appropriate period without potential cellular network access fees).

       The ’761 Patent claim 1 thus recognizes that for any given user on any network there may

be certain periods for the device where "potential network cellular network access fees” exist that

a user may desire to altogether avoid. So, the system provides an option to avoid them.

       A POSITA was well aware of such potential fees. Data roaming fees are one well-known

example of "potential network cellular network access fees” expressly mentioned in the intrinsic

record. Hughes Decl. at ¶¶89-92. At the time of the invention, it was well known that uploads

during data roaming potentially (but do not certainly) result in cellular network access fees incurred

from sending data over the roaming network. Id. at ¶91. Both experts agree that data roaming fees

are “possible” but not always charged for uploads during roaming. Id. at ¶¶91-92.

       Consistent with that understanding, during prosecution, CEV expressly identified data

roaming charges as an example to help explain the meaning of the claim language and distinguish

the art. CEV explained to the examiner that monitoring network upload conditions in claim 1


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distinguishes the art by providing the user with an option to “prevent roaming or other network

charges that can be incurred during photo uploads.” ’116 F.H. at CEV-0031291, Hughes Decl.at

¶¶89-90. The examiner allowed the claims of the ’116 Patent (and subsequently, the ’761 Patent)

for that reason, and did not object to the provided example or find the claim language to be unclear

in any way. Sonix Tech. Co., 844 F.3d at 1379-80 (the examiner, by withdrawing rejections “did

not express any uncertainty as to the scope of the disputed claim term,” which “provide[d] evidence

that a skilled artisan did understand the scope of this invention with reasonable certainty.”).

       TCL makes two arguments alleging “periods without potential cellular network access

fees” is indefinite, but both are meritless. First, TCL argues (Def. Brief at 10):

       “On the one hand, the plain meaning of ‘without . . . fees’ seems to require that
       there be no cellular network access fees at all….On the other hand, though, the
       specification [at 12:64-13:1] only refers to decreased cellular access fees rather than
       the complete absence of such fees….”

TCL’s reference to “no cellular network access fees at all” mischaracterizes the claim language

and ignores “periods” and “potential.” The term “potential cellular network access fees” in context

does not encompass every fee already in existence or imply that a user’s data plan must be

completely free of all charges.

       Dr. Hughes explains that “periods without potential cellular network access fees” refers to

upload-related fees that exist only in certain periods (but not others). Hughes Decl. at ¶84. A fixed

monthly plan charge on a provider plan does not vary from one upload period to the next or depend

on information received via the cellular interface, which is what the claim requires, and thus the

claim is specifically referring to fees resulting from uploads. Id. at ¶84.b-c.

       Furthermore, contrary to TCL’s statement, the claim language is consistent with the

specification. The ’761 Patent at 12:64-13:1 describes “confin[ing] picture transmission to

…periods of cheaper network access.” The word “cheaper” encompasses periods in which the

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potential upload fee is zero. When the potential upload fee is zero, it is “cheaper” (consistent with

the specification) than every other potential fee for an upload.

       Indeed, during prosecution of the ’116 Patent (where the relevant claim language of the

’761 Patent first appeared), CEV cited the same portion of the specification at 12:64-13:1

(referenced as “[0038]”) in remarks with the amendment introducing the claim language. ’116 F.H.

at CEV-0031284. The examiner indicated agreement with CEV by allowing the claims of the ’116

Patent (and later, the claims of the ’761 Patent with similar language).

       Second, TCL complains that “the exact same system to perform the exact same steps will

have a different outcome for each different user which makes the terms indefinite.” Def. Brief at

11-12. However, as explained above, the claim is a system claim, not a method claim directed to

user steps. Indeed, the claim refers to “an upload option that instructs the device to confine

automatic picture upload to periods without potential cellular network access fees.” The claimed

system provides “an upload option” specifically so that each unique user has the ability to choose

to select the option or choose not to select it as desired. Hughes Decl. at ¶100.

       Furthermore, TCL ignores that the claim recites “potential network cellular network access

fees.” That phrase is completely understandable to a skilled artisan without any need to know the

context of “a user’s cellular network plan.” Id. at ¶99. In certain periods/device states, “potential

network cellular network access fees” exist, and a POSITA would be well aware of such fees, but

TCL does need to know the data plan for each user that buys its device. As the examiner agreed,

data roaming fees are one example of well-known “potential network cellular network access

fees.” A system that includes an option to confine uploads to periods without those potential fees

infringes the claim regardless of an end user's data plan. In short, the word “potential” in context

makes clear that the claim is user and plan independent. Id. at ¶¶98-99.


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       Finally, TCL (Def. Brief at 11-12) misleadingly edits language 14:31-35 of the ’761 patent.

The actual text says, “Cellular service providers typically charge a fee for internet access or

emailing and so an automatic feature to connect to the net or send email for the purposes of

transmitting pictures can improve revenue generation for these companies.” Contrary to TCL’s

edits, this sentence does not acknowledge “a fixed-price cellular network plan” but instead simply

refers to the fact that more transmitting of pictures means more revenue for service providers. The

word “typically” necessarily acknowledges something other than “always,” which shows that the

word “potential” is consistent with the specification.

       For the above reasons, TCL has not met its burden to prove that “periods without potential

cellular network access fees” is indefinite by clear and convincing evidence.

   E. “upload … pictures …” (’761 Patent, Claim 1; ’472 Patent, Claims 1, 5)

       TCL argues: “The ‘upload … pictures’ term is indefinite because a POSITA would not be

able to ascertain with reasonably certainty [1] what specific pictures are uploaded [and 2] under

what scenarios.” Def. Brief at 12. TCL is incorrect.

       Section G below explains that the “group of pictures…to be uploaded” is well-defined in

the plain language of each claim. Simply put, the pictures in the “group” (described in Section G

below) are what gets uploaded. Also, the “scenarios” for upload are abundantly clear: (i) in ’761

Patent claim 1, the upload occurs “after” three events, and (ii) in claims 1 and 5 of the ’472 Patent,

the upload occurs “during any period detected by the controller in which” certain conditions are

met (three conditions for claim 1, and four conditions for claim 5).

       TCL (Def. Brief at 13) argues that the ’761 Patent at 11:64-12:1 “at best only supports

uploading the designated pictures, but not uploading all or any pictures that have not been

designated for uploading.” Here, TCL is misdirecting with a written description argument, which


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is not a claim construction issue. See, Maxell, Ltd. v. Amperex Tech. Ltd., No. 21-CV-347-ADA,

2022 U.S. Dist. LEXIS 204753, at *46-47 (W.D. Tex., Nov. 10, 2022) (declining to address an

argument “appearing to be directed towards written description” and finding “there is no ambiguity

in the claim language itself.”). Moreover, the disclosure describes that the “group to be uploaded”

can be formed in many ways, not just the way defined in one element of these claims. Hughes

Decl. at ¶¶142-46.

       In sum, the group to be uploaded is clearly defined as explained in Section G, as are the

upload scenarios. The term “upload … pictures …” is definite.

   F. “indication from the local memory” (’761 Patent, Claim 1)

       TCL starts its argument about “indication” by complaining that the specification does not

use the words “indication,” “indicate,” and “indicating” in connection with “local memory.” Def.

Brief at 13. Again, in haec verba disclosure is not required under section 112. The plain and

ordinary meaning of “indication” applies, and the question is whether the use of the word

“indication” in the claim is reasonably clear. It certainly is. Hughes Decl. at ¶¶148-60.

       The word “indication” is used twice in ’761 Patent claim 1, each time requiring simply that

the “indication” is “received” by the controller. The first “indication” is that the “system is

connected to the internet via the cellular interface,” which TCL does not assert is indefinite. The

second is an “indication from local memory that a user has elected an option to designate” at least

one picture stored in the local memory to be uploaded. Here, TCL asserts that: “Memory is like a

digital storage system whose contents can be retrieved, but a storage system does not provide

indications. A POSITA would wonder what, exactly, is that ‘something’ from a passive memory

storage that can serve to indicate.” Def. Brief at 14. However, TCL’s assertion is purely attorney

argument that is unsupported by any evidence, not even TCL’s expert.


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       TCL’s own definition for “indication” (i.e., “something (as a signal sign, suggestion) that

serves to indicate”) does not say an indication is “active” or “passive.” Likewise, ’761 Patent claim

1 does not state how the indication is received by the controller (whether actively or passively).

Hughes Decl. at ¶159. And, Dr. Hughes explains that data stored in a memory meets TCL’s own

definition because it acts as “a signal, sign, suggestion that serves to indicate.” Id. at ¶¶156-158.

       Still further, TCL ignores that CEV clearly explained its understanding of the word

“indication” during prosecution of the ’761 Patent in response to an enablement rejection, stating,

“the fact that an ‘indication’ (i.e, some sort of proof in the form of an electronic signal) of a met

condition was received would immediately be understood by a skilled artisan without the need for

undue experimentation.” ’761 F.H. at CEV-0030681. The examiner withdrew the enablement

rejection and later allowed the ’761 Patent. Any POSITA reading the above passage would

understand the “indication” in the claim. 9 Hughes Decl. at ¶¶153-54.

       In sum, contrary to TCL’s unsupported argument, a memory can provide indications, and

TCL fails to meet its burden to prove that the term is indefinite by clear and convincing evidence.

    G. “group of … pictures” (’761 Patent, Claim 1; ’472 Patent, Claims 1, 5)

       TCL’s argument regarding “group” attempts to create confusion where none exists. TCL

argues that “a POSITA has no way of knowing what constitutes the ‘group of … pictures’ recited

in the claims: whether all of the pictures stored in the memory (which the claims say might be only

a single picture) or an unspecified subset of those stored pictures.” Def. Brief at 14.

       At the same time, TCL’s expert understands that the “group” in the claims is a group of

pictures to be uploaded containing at least one picture that has been selected, stating: “Both



9 Dr. Garlick described that “an electrical signal … sent to a microprocessor indicat[es] the current
state of the switch,” consistent with CEV’s explanation. Gar. Dep. at 140:22-24.

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[patents] seem to indicate that selecting an image from a “group” is sufficient to condition the

upload of the “group” of images.” Gar. Decl. ¶56. Dr. Garlick confirmed at deposition that he

reached this conclusion from the plain language of the claims. Gar. Dep. at 194:6-195:3. Dr.

Garlick’s statement is mostly correct.

       Put simply, the claims in both asserted patents use the word “group” in its ordinary parlance

and describe the group as a group “to be uploaded.” In each case, the group includes at least one

picture designated by a user: claims 1 and 5 of the ’472 Patent recite “at least one image sensor-

captured picture stored in the local memory has been designated through the touch sensitive

display as part of the group,” and claim 1 of the ’761 Patent recites “a user has elected an option

to designate at least one picture from the group.”

       Thus, the metes and bounds of the “group” are clear: the group contains at least one picture

designated through the specified process in the claim, the group can include additional pictures

that are not necessarily designated through the specified process in the claim, and the group can

(but is not required to) include every picture in the local memory at the time the upload occurs.

Hughes Decl. at ¶¶126-29, 135-37, 141. Covering a range of possibilities does not lead to

indefiniteness when the scope of what is covered is reasonably (in this case, absolutely) clear.

“Breadth is not indefiniteness.” In re Gardner, 427 F.2d 786, 788 (C.C.P.A. 1970).

       TCL also separately argues lack of antecedent basis for ’761 Patent claim 1, which uses

the word “group” only once. Def. Brief at 14. TCL’s argument is without merit. In context, the

“group” of element (f)(ii)(3) simply refers to the pictures stored in the local memory to be uploaded

to the remote picture hosting service in element (f)(ii). Claim 1 recites:

       (d) a non-volatile local memory configured to store one or more pictures. …
       (f) a controller configured to: …




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                (ii) automatically connect to a remote picture hosting service and cause an upload
        of one or more pictures stored in the non-volatile memory to the remote picture hosting
        service via the cellular interface, after receiving:…
                         (3) an indication from the local memory that a user has elected an option to
                designate at least one picture from the group of pictures stored in the local memory
                to be uploaded to the remote picture hosting service.

        In element (f)(ii), the claim refers to the controller’s ability to “cause an upload of one or

more pictures stored in the non-volatile memory to the remote picture hosting service.” Then, in

element (f)(ii)(3), the claim refers to “the group of pictures stored in the local memory to be

uploaded to the remote picture hosting service.” The claim therefore directly ties the recited

“group” in the latter part of the claim to the pictures that the controller is configured to cause to be

uploaded, in the earlier part of the claim. Hughes Decl. at ¶¶126-27.

        It is thus clear from the claim language itself that the non-volatile local memory can (from

a variety of ways and sources as described in the specification) store a group of pictures “to be

uploaded,” and the upload of those pictures takes place after (among other conditions) at least one

picture “from the group of pictures stored in the local memory to be uploaded” is designated by

user election of an option. The group of pictures to be uploaded must include the “at least one

picture” but may include other pictures as well. Hughes Decl. at ¶¶131-34, 138-41.

        In both patents, the claim language is absolutely clear on its face. The pictures to be

uploaded are properly characterized as a “group.” 10

     H. “periods without potentially increased cellular network access fees” (’472 Patent,
        Claims 1, 5)

        Claims 1 and 5 recite “periods without potentially increased cellular network access fees.”

The claims refer to “potentially increased” upload fees that exist in certain periods, and that the




10The pictures “to be uploaded” are a group even under TCL’s “commonality” requirement. As
examples of “commonality,” the pictures are all in the local memory and all “to be uploaded.”
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system provides an “upload option” or “user-selectable input” on the touch sensitive display that

can be selected to confine automatic picture uploading to periods without such fees.

       Similar to the discussion in Section D above, which is not repeated, it is clear from the

plain language of the claims that the described “potentially increased cellular network access fees”

relate to fees resulting solely from uploads. Hughes Decl. at ¶84. A POSITA would have been well

aware that periods with “potentially increased cellular network access fees” exist, and the

specification describes that automatic uploads can be confined to periods without them (referenced

as “periods of cheaper network access” at 13:3-7). Hughes Decl. at ¶¶89-92.

       Also, TCL’s assertion that “[t]he intrinsic record simply offers no guidance” (Def. Brief at

15) is false. The intrinsic record provides an example consistent with the plain meaning of the

claim term and its clear scope. In response to a written description rejection during prosecution

CEV stated: “As an example at the time of the invention (known to a PHOSITA), equipment on

the network indicates to the cellular phone (through its cellular interface) that the device is roaming

on a more-expensive non-provider network. This roaming period would not be ‘one of the periods

without potentially increased cellular network access fees,’ and upload is prevented during this

particular period.” ’472 F.H. at CEV-0010978; Hughes Decl. at ¶106. The examiner subsequently

allowed the ’472 Patent without indicating lack of clarity in the claim language or example. Sonix

Tech. Co., 844 F.3d at 1379-80 (examiner’s demonstration of understanding “provide[d] evidence

that a skilled artisan did understand the scope of this invention with reasonable certainty.”).

       TCL argues: “[I]t is not clear ‘increased network access fees’ are compared to what?” Def.

Brief at 15. That argument ignores the plain meaning of “increased” and that the phrase says

“periods without potentially increased cellular network access fees.” The specific amount of the

“increase” does not matter because the plain meaning of “increased” is clear: it covers any increase


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above what is normal for an upload. Hughes Decl. at ¶116. There is no need for more guidance on

“how much potential increase of the fees is needed.” Def. Brief at 16.

        In addition, as discussed in Section D, the claims are system claims, not method claims

requiring fees to actually be incurred (or not incurred). Indeed, the phrase “potentially increased

cellular network access fees” removes the need for consideration of context, such as user data

plans: the system provides an option/input that can be selected by a user to avoid uploading during

“periods without potentially increased cellular network access fees,” regardless of whether that

specific period is in an increased fee for every user. Hughes Decl. at ¶¶107-13. Also, CEV provided

the data roaming example for a POSITA and the USPTO. Id. at ¶106.

        TCL also erroneously calls “potentially increased” a “term of degree.” It is not. The term

“potentially” does not require evaluation of the “degree” of potential–it simply requires at least the

possibility that the described thing will happen. Hughes Decl.at ¶114. The word “increased” covers

any increase small or large, not an evaluation of degree, such as whether or not a shape subjectively

qualifies as “elongated.” In contrast, the cases cited by TCL rely on subjective evaluation

adjectives, such as “high,” “short,” “convenient,” “sufficiently,” and “elongated.”

V.      CONCLUSION

        For the above reasons, CEV respectfully requests that this Court reject TCL’s

indefiniteness arguments and construe the disputed terms in accordance with CEV’s proposal for

plain and ordinary meaning and construction of “the device” as “the camera system.”




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   Respectfully submitted on December 12, 2022, by:

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                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically
via U.S. District Court [LIVE]- Document Filing System, to all counsel of record, on this the 12th
day of December 2022.

                                               /s/ Justin Lesko
                                               Justin Lesko




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